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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X
T.P., individually and on behalf of J.J.,                     COMPLAINT
                                    Plaintiffs,
                                                              Civil Case No. 1:20-cv-2446
-against-

New York City Department of Education,
                                    Defendant.
----------------------------------------------------X

Plaintiffs, by their attorney, Erica M. Fitzgerald, Esq. of Fitzgerald & Sadove, PLLC, respectfully

moves this Court for an award of attorney fees associated with their prosecution of an impartial

hearing under the Individuals with Disabilities Act (IDEA), 20 U.S.C. § 1415 (i)(3)(B). The

Plaintiffs, by and for their Complaint against the Defendant, set forth and allege that:

                                             INTRODUCTION

    1. This is an action pursuant to the fee-shifting provisions of the Individuals with Disabilities

        Education Improvement Act (“IDEIA”), 20 U.S.C. § 1415(i)(3), to recover attorneys’ fees

        and costs that Plaintiff T.P. (“Plaintiff” or “Parent”) incurred in connection with

        administrative proceedings brought individually and on behalf of her child, J.J., against the

        New York City Department of Education (“NYCDOE” or “District”).

    2. Plaintiffs have prevailed in an administrative proceeding under the IDEIA.            As the

        prevailing party, Plaintiffs are entitled to recover reasonable attorneys’ fees and costs

        associated with conducting that administrative proceeding.

    3. The IDEIA also allows Plaintiffs to recover reasonable attorneys’ fees and costs associated

        with bringing and litigating this action itself.

    4. The IDEIA’s fee-shifting provisions, 20 U.S.C. § 1415(i)(3), are consistent with the

        remedial nature of the statute. The IDEA was intended to remedy a situation in which




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    children with disabilities were unserved. See Bd. of Educ. of Hendrick Hudson Cent. Sch.

    Dist. v. Rowley, 458 U.S. 176, 189 (1982). The fee-shifting provisions contribute to the

    overall statutory scheme of providing “procedures which would result in individualized

    consideration of and instruction for each child.” Id.

5. The IDEIA attorneys’ fees provision, as set forth at § 20 U.S.C. § 1415(i)(3) serves the

    important public purpose of helping to ensure that parents of students with disabilities have

    access to attorneys without regard to income.

                                         THE PARTIES


6. Plaintiff J.J. is a minor child and student. Due to J.J.’s learning disabilities, J.J. is a “child

    with a disability” within the meaning of 20 U.S.C. § 1401(3)(A).

7. Plaintiff T.P. is J.J.’s mother. T.P. is the “parent” of J.J. within the meaning of 20 U.S.C.

    § 1401(23).

8. Plaintiffs reside within the boundaries of the New York City Department of Education or

    resided there during all points relevant to the hearing and to this action.

9. Upon information and belief, the identity of Plaintiffs is well-known to Defendant.

10. Defendant, the New York City Department of Education, has its principal place of business

    at 52 Chambers Street, New York, New York 10007.

11. Defendant, a municipal corporation created pursuant to N.Y. Educ. Law art. 52-A

    (McKinney 2017), is the agency charged with the obligation to provide J.J. with a free and

    appropriate public education ("FAPE") in accordance with the mandates of the IDEIA and

    the New York State Education Law.

12. Defendant is a “local educational agency” within the meaning of 20 U.S.C. 1401(19).




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                               JURISDICTION AND VENUE

13. This United States District Court for the Southern District of New York has jurisdiction

   over Plaintiffs’ federal claim for an award of reasonable attorneys' fees to a prevailing party

   in an administrative proceeding under the IDEIA, pursuant to 20 U.S.C. § 1415(i)(3)(A),

   and as an action raising a federal question under 28 U.S.C. § 1331. Supplemental

   jurisdiction of related claims arising under state law is present pursuant to 28 U.S.C. §

   1367.

14. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391(b)(1)

   in that Plaintiffs and Defendant all reside in or are situated within this Judicial District.

                                 STATEMENT OF FACTS

15. On November 30, 2018, T.P. filed a pro se Request for Due Process.

16. Impartial Hearing Officer (“IHO”) Diane Ciccone, Esq. was appointed to preside over the

   matter.

17. The matter was captioned as IHO # 179963.

18. On January 30, 2019, T.P. appeared pro se at hearing. At that time, IHO Ciccone issued

   an Interim Order awarding T.P. Seventy-Five (75) hours of compensatory tutoring services

   for reading at the enhanced rate of $100 per hour. She also ordered the NYCDOE to

   conduct a Speech Language Evaluation and Occupational Therapy Evaluation.

19. On February 4, 2019, T.P. filed a pro se Amended Due Process Complaint.

20. On June 10, 2019, Plaintiff T.P. retained the services of Fitzgerald & Sadove PLLC for the

   purposes of amending her Due Process Complaint and representing her at the impartial due

   process hearing against the Defendant pursuant to the IDIEA and New York State law




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   regarding Defendant’s failure to provide J.J. with a FAPE for the 2017-2018 and 2018-

   2019 school years.

21. Fitzgerald & Sadove PLLC’s office is located at 75 S. Broadway, 4th Floor, White Plains,

   New York 10601.

22. On June 18, 2019, Fitzgerald & Sadove PLLC filed a Second Amended Due Process

   Complaint (“DPC”) requesting an impartial hearing on Plaintiff’s behalf. The DPC alleged

   that Defendant failed to offer J.J. a FAPE as required by the IDIEA and state law, and

   requested relief. 20 U.S.C. § 1412(a)(1) and N.Y. Educ. Law § 4404(a).

23. On July 3, 2019, Petitioner, with the assistance of counsel, entered into a partial resolution

   agreement in which the District agreed to conduct an Independent Neuropsychological

   Evaluation and reconvene the Committee on Special Education (“CSE”) following receipt

   of the Neuropsychological Evaluation report.

24. On July 23, 2019, IHO Ciccone issued a Second Interim Order directing the NYCDOE to

   pay for a Functional Behavior Assessment (“FBA”) of the student and the creation of a

   Behavior Intervention Plan (“BIP”) based on same no later than October 1, 2019.

25. Administrative hearings were conducted on January 30, 2019, July 23, 2019 and September

   27, 2019. Defendant did not put on a case with respect to the years in question.

26. Petitioner’s counsel submitted a written closing statement on September 27, 2019.

27. On October 9, 2019, IHO Ciccone issued a Findings of Fact and Decision in the instant

   matter.

28. IHO Ciccone’s Findings of Fact and Decision awarded, inter alia, the following relief to

   J.J.: a) full reimbursement in the amount of Seven Thousand Five Hundred Two Dollars

   ($7,502.00) for fees paid by T.P. to the Huntington Learning Center for services during the




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   2017-2018 school year; b) Eighty (80) hours of compensatory speech/language services at

   a reasonable market rate and c) 500 hours of compensatory tutoring services by a certified

   Special Education teacher at Huntington Learning Center.

29. Defendant has waived its right to administratively appeal IHO Ciccone’s decision, since

   the time limit for bringing such an appeal has lapsed. N.Y. Educ. Law § 4404(3).

30. T.P. had the assistance of counsel, Fitzgerald & Sadove PLLC, a law firm, which

   represented T.P. by, inter alia, drafting and filing the Second Amended Due Process

   Complaint herein described, negotiating a partial resolution agreement with Defendant,

   preparing for and conducting the administrative hearing before IHO Ciccone, and drafting

   a written closing statement.

31. On November 20, 2019, Plaintiff, through her attorneys, submitted a Fee Demand to

   Defendant in the amount of Twenty-One Thousand Three Hundred Fifty-Eight Dollars

   ($21,358.00).

32. On December 2, 2019, Defendant acknowledged receipt of Plaintiff’s Fee Demand and

   provided contact information for the staff member, Jeffrey Cassuto, who was assigned to

   the matter.

33. To date, Defendant has made no attempt to negotiate fees, despite multiple attempts on the

   part of Plaintiff to do so.

34. This action is brought One Hundred Sixty-Two (“162”) days after the issuance of IHO

   Ciccone’s decision. Accordingly, it is brought within the applicable limitations period.

                           PLAINTIFFS’ CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

35. Plaintiffs repeat and reallege Paragraphs 1 to 34 as if set forth at length herein.




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   36. Based upon Plaintiffs’ having obtained substantial relief in the underlying administrative

      proceeding, Plaintiffs are the “prevailing party” and are entitled to reasonable attorneys’

      fees and costs associated with the administrative proceedings. 20 U.S.C. § 1415(i)(3).

   37. To recover the attorneys’ fees and costs claimed in Paragraph 32, supra, it is necessary for

      Plaintiffs to commence the instant civil action.

   38. Pursuant to 20 U.S.C. § 1415(i)(3), Plaintiffs should be awarded the attorneys’ fees and

      costs in this action, including those that may accrue subsequent to the date of this

      Complaint.

                                 SECOND CAUSE OF ACTION

   39. Plaintiff repeats and realleges the allegations in Paragraphs 1 through 38 as if set forth at

      length herein.

   40. Defendant has, upon information and belief, acted in bad faith by representing that it was

      settling actions, and then unduly delaying, through inappropriate practices and assigning

      inadequate staff, the payment of attorneys’ fees, necessary for the provision of FAPE.

   41. Plaintiffs have relied on the representations of Defendant that it intended to negotiate fees

      with Plaintiff, to its detriment, as such negotiations have failed to take place.

   42. Plaintiff was the prevailing party at the impartial hearing, and as such should receive an

      award of attorneys’ fees within a reasonable time frame.

   43. Principles of equity demand such relief.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

      1. Assume jurisdiction of this action;

      2. Deem Plaintiffs to be the prevailing party;




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3. Award Plaintiffs’ attorneys’ fees, costs, and expenses for the underlying administrative

   proceedings pursuant to 20 U.S.C. § 1415;

4. Award Plaintiffs’ attorneys’ fees, costs, and expenses for this action pursuant to 20

   U.S.C. § 1415; and

5. Grant such other and further relief as this Court may deem just and proper.

Dated: March 20, 2020
       White Plains, New York

                                                     By:
                                                     ______________________________
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